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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

GENERAL MOTORS LLC,
                                                     Case No. 23-cv-04872
                        Plaintiff,

v.

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

                        Defendants.


                                          COMPLAINT

       Plaintiff General Motors LLC (hereinafter, “GM” or “Plaintiff”) hereby brings the present

action against the Partnerships and Unincorporated Associations identified on Schedule A attached

hereto (collectively, the “Defendants”) and alleges as follows:

                               I. JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b),

and 28 U.S.C. § 1331.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive e-commerce stores operating under the seller aliases identified in

Schedule A attached hereto (the “Seller Aliases”). Specifically, Defendants have targeted sales to

Illinois residents by setting up and operating e-commerce stores that target United States

consumers using one or more Seller Aliases, offer shipping to the United States, including Illinois,
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accept payment in U.S. dollars and/or funds from U.S. bank accounts and, on information and

belief, have sold products using infringing and counterfeit versions of GM’s federally registered

trademarks to residents of Illinois. Each of the Defendants is committing tortious acts in Illinois,

is engaging in interstate commerce, and has wrongfully caused GM substantial injury in the State

of Illinois.

                                      II. INTRODUCTION

        3.     This action has been filed by GM to combat e-commerce store operators who trade

upon GM’s reputation and goodwill by offering for sale and/or selling unauthorized and unlicensed

products, including automotive maintenance and replacement parts, automotive accessories, key

chains, apparel, and home decor products using infringing and counterfeit versions of GM’s

federally registered trademarks (the “Counterfeit GM Products”). Defendants create e-commerce

stores operating under one or more Seller Aliases that are advertising, offering for sale, and selling

Counterfeit GM Products to unknowing consumers. E-commerce stores operating under the Seller

Aliases share unique identifiers establishing a logical relationship between them and that

Defendants’ counterfeiting operation arises out of the same transaction, occurrence, or series of

transactions or occurrences. Defendants attempt to avoid and mitigate liability by operating under

one or more Seller Aliases to conceal both their identities and the full scope and interworking of

their counterfeiting operation.     GM is forced to file this action to combat Defendants’

counterfeiting of its registered trademarks, as well as to protect unknowing consumers from

purchasing Counterfeit GM Products over the Internet. GM has been and continues to be

irreparably damaged through consumer confusion, dilution, and tarnishment of its valuable

trademarks as a result of Defendants’ actions and seeks injunctive and monetary relief.




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                                     III. THE PARTIES

Plaintiff

       4.       Plaintiff General Motors LLC is a limited liability company of the State of

Delaware, having its principal place of business at 300 Renaissance Center, Detroit, Michigan

48265-3000.

       5.       GM, one of the most preeminent automotive brands in the world, was founded in

1908 as a separate and successor company to the already famous Durant-Dort Carriage Company,

which had been the largest manufacturer of horse drawn vehicles prior to the explosion of

automobiles. From its founding in 1908 to present day, GM has remained at the forefront of the

automotive industry. For more than 75 years, GM has been one of the largest producers of

automotive vehicles in the world, with more than 7 million vehicles sold to consumers yearly,

resulting in more than 130 billion dollars in revenue. GM is associated with some of the most

famous and storied brands in the automotive industry, including GM, Chevrolet, Cadillac, GMC,

Buick, Pontiac and ACDelco.

       6.       Propelled by its reputation and recognizable trademarks, which are carefully

curated and monitored, consumers recognize GM and its GM brand as a source of reliable and

quality vehicles, vehicle parts and accessories, miniature vehicles and toys, and various other

lifestyle products (collectively, the “GM Products”). GM has registered many of its trademarks

with the United States Patent and Trademark Office. GM Products typically include at least one

of GM’s registered trademarks. GM uses its trademarks in connection with the marketing of its

GM Products, including the following marks which are collectively referred to as the “GM

Trademarks.”

            Registration No.                             Trademark
            1,223,115                                 GENERAL MOTORS

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   6,775,114                                     GM
   1,633,965                                 DURAGUARD
   4,552,244                                  DURALIFE
   5,367,502; 6,775,114                       DURAMAX
   1,342,435                                    GUIDE
   6,439,852                                   GUIDEX
   4,572,442                                    TECH 2
   5,151,745                                   TUSCAN
   3,252,846                                   VORTEC
   271,167; 314,824; 314,825;
   314,823

   1,685,062; 4,596,433; 1,474,088;
   1,575,170

   1,471,518; 1,661,627; 2,309,369;
   2,311,214; 2,348,249; 2,522,861;           CHEVROLET
   2,563,091
   2,357,128; 2,308,986; 1,494,385              CHEVY
   2,313,756; 2,356,823; 2,654,526;
                                               CAMARO
   3,126,223; 3,628,953; 4,246,081
   2,866,966                                 AVALANCHE
   5,751,576; 2,656,665                        BLAZER
   2,561,229; 4,394,946; 2,059,324             BEL AIR
   3,185,665                                     C6
   4,646,598                                  CANYON
   2,311,794; 4,431,312; 4,431,313;
                                               CHEVELLE
   4,431,314; 4,431,315
   4,646,599                                  COLORADO
   1,467,522; 1,494,171; 1,494,980;
   1,495,033; 2,311,215; 2,314,485;           CORVETTE
   2,463,898
   5,643,759                                CRUZE PREMIER
   4,382,628                                  EL CAMINO
   2,854,854                                   EQUINOX
   4,444,192                                HIGH COUNTRY
   661,322; 2,311,798; 2,669,222                IMPALA
   4,275,949; 4,275,878                           L88
   4,382,776                                      LT-1
   4,713,011                                      LT1
   2,092,090                                    MALIBU
   2,430,738; 2,681,174                     MONTE CARLO
   1,039,220                                  SILVERADO

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   1,519,946; 1,750,042; 4,436,811             STINGRAY
   1,490,090; 2,652,035                       SUBURBAN
   1,880,529; 2,652,036                         TAHOE
   3,537,570                                   TRAVERSE
   4,704,309                                     TRAX
   4,275,899                                  TURBO-FIRE
   4,275,896; 4,275,897                       TURBO-JET
   2,316,536                                      Z/28
   2,008,406; 2,308,988; 2,654,527                Z71
   4,279,992; 5,566,056                           ZR2
   4,172,493; 4,117,179                           ZL1
   1,540,658

   2,311,397; 2,563,092; 2,678,153
   2,311,791; 2,311,792; 2,311,918;
   2,538,436; 2,550,170; 2,562,025;
   2,578,898; 2,734,714; 2,736,654;
   2,779,456

   95,398

   1,519,942; 1,530,792; 1,661,628
   579,485

   2,311,399


   2,631,880; 2,654,528

   2,750,257


   2,242,877; 2,683,719

   3,739,089; 3,739,090; 3,739,092;
   3,739,093; 3,739,094; 3,739,096;
   3,739,097; 3,739,098
   4,482,475; 4,597,263; 4,601,524;
   4,601,525; 4,601,526; 4,601,527;
   4,719,036; 4,719,043




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   1,491,293; 1,494,172; 2,311,917;
   2,545,133; 2,578,899; 2,666,595


   6,190,715; 6,639,689


   6,433,801


   3,650,649; 3,650,651; 3,650,654;
   3,650,657
   4,514,976; 4,597,272; 4,597,273;
   4,597,275; 4,597,292; 4,601,531

   2,700,379

   4,863,379; 4,863,380; 4,863,381;
   4,863,382; 4,863,383; 4,863,384;
   5,004,543
   1,506,101; 2,346,738

   1,898,835; 2,346,737; 2,346,904;
   2,349,761; 2,756,065

   2,721,375

   201,694; 1,900,372; 1,665,834;
   1,663,465; 1,782,739; 1,681,292;            CADILLAC
   1,700,662; 2,654,530; 3,609,853
   6,131,047                                      CT4
   6,119,389                                      CT5
   3,261,764                                      CTS
   2,931,763; 2,269,827; 3,520,169;           ESCALADE
   3,520,185
   2,792,883                                      ESV
   2,830,721                                      SRX
   5,018,505                                      XT5
   5,864,138                                      XT4
   6,097,037                                      XT6
   1,570,808


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   1,768,653



   1,723,245



   1,686,536; 1,871,376; 1,872,415;
   2,659,597



   2,654,531; 2,750,240; 2,779,457


   4,642,212; 4,728,403; 4,827,580;
   4,827,581; 4,827,582; 4,837,265
   2,875,574
   1,470,781; 1,569,557; 2,449,301;
   2,455,330; 2,459,744; 2,459,750;               GMC
   2,461,681; 2,461,697; 2,700,392
   3,242,874                                    ACADIA
   5,751,578                                      AT4
   2,224,539                                    DENALI
   4,973,662                                  ELEVATION
   2,744,964                              LIKE NOTHING ELSE
   2,057,709                                   SAVANA
   1,573,202; 2,683,735                         SIERRA
   1,598,480                                    YUKON
   3,056,298                                      H2
   3,453,396; 3,457,399; 3,717,305                H3
   2,245,635; 2,414,500; 2,953,685;            HUMMER
   5,519,708
   2,631,795; 2,740,337; 2,654,456;
   2,954,605; 2,625,050
   2,625,051; 2,604,940; 2,707,075

   2,659,457




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   860,907; 1,682,097; 1,685,308;
   1,685,358; 1,686,484; 1,694,262;              BUICK
   1,727,606; 2,625,102; 2,678,154
   5,464,849                                    AVENIR
   3,336,426                                   ENCLAVE
   4,342,824                                    ENCORE
   4,308,089; 4,333,887; 4,333,889;
                                                  GNX
   4,333,888; 4,333,886
   4,275,405; 4,275,368; 4,275,406;
                                           GRAND NATIONAL
   4,275,397; 4,275,355
   4,275,881; 4,275,882                           GSX
   2,926,906                                   LACROSSE
   2,693,400                                     REGAL
   5,082,334                                    RIVIERA
   5,570,976                                    TOURX
   511,603
   1,559,739; 1,690,241; 1,698,990;
   1,713,553; 1,741,359; 1,790,402;
   2,545,104; 2,625,101; 2,631,830;
   2,740,351

   1,473,052

   1,467,546; 1,701,857; 1,708,037;;
   2,539,540; 2,563,775; 2,563,776;            PONTIAC
   2,659,488; 2,683,733; 2,685,227
   1,470,780; 2,700,393                        FIREBIRD
   2,686,610                                 BONNEVILLE
   1,470,782; 3,329,341; 3,329,342               FIERO
   2,686,611                                  GRAND AM
   2,752,897                                 GRAND PRIX
   2,522,859; 4,275,876; 4,275,877                GTO
   2,985,088; 3,401,756                       THE JUDGE
   4,279,990; 4,279,991                           WS6

   1,495,970


   1,686,331; 1,697,696; 1,697,755;
   2,539,542; 2,550,171; 2,555,084;

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   2,570,842; 2,625,151; 2,635,330;
   2,683,734

   2,563,777



   1,494,384



   2,734,723



   4,334,451; 4,334,454



   4,338,289; 4,338,290




   4,338,292




   4,338,293; 4,338,294


   2,775,430; 1,745,728; 2,736,653;
                                             OLDSMOBILE
   1,744,632
   4,286,315; 4,286,316                           442

   2,777,839


   2,727,122




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            4,334,441




            4,331,923


            2,052,593                                        AC-DELCO
            6,883,181                                          DELCO
            2,216,695                                        AUTOTRAC
            4,189,148                                       DELCO REMY
            2,044,503                                        DEX-COOL
            6,725,091                                         DEXCOOL
            3,929,002                                          DEXOS
            833,566; 3,532,106                                DEXRON
            2,010,805                                        RAPID FIRE
            2,457,659                                        TRANSYND
            310,672; 311,173; 311,656
            2,440,150; 2,440,149; 2,426,384;
            2,445,740; 2,445,739; 3,111,630;
            2,399,723; 2,445,737; 2,445,738;
            5,157,151
            5,751,569

            3,945,278

            4,653,624

            4,471,526


       7.        The above U.S. registrations for the GM Trademarks are valid, subsisting, in full

force and effect, and many are incontestable pursuant to 15 U.S.C. § 1065. The registrations for

the GM Trademarks constitute prima facie evidence of their validity and of GM’s exclusive right

to use the GM Trademarks pursuant to 15 U.S.C. § 1057(b). True and correct copies of the United




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States Registration Certificates for the above-listed GM Trademarks are attached hereto as Exhibit

1.

       8.      The GM Trademarks are distinctive when applied to the GM Products, signifying

to the purchaser that the products come from GM and are manufactured to GM’s quality standards.

Whether GM manufactures the products itself or contracts with others to do so, GM has ensured

that products bearing the GM Trademarks are manufactured to the highest quality standards.

       9.      The GM Trademarks are famous marks, as that term is used in 15 U.S.C. §

1125(c)(1), and have been used by GM for many years. The innovative marketing and product

designs of the GM Products have enabled the GM brand to achieve widespread recognition and

fame and have made the GM Trademarks some of the most well-known marks in the industry.

The widespread fame, outstanding reputation, and significant goodwill associated with the GM

brand have made the GM Trademarks valuable assets of GM.

       10.     GM has expended substantial time, money, and other resources in developing,

advertising and otherwise promoting the GM Trademarks. In fact, GM has expended millions of

dollars annually in advertising, promoting, and marketing featuring the GM Trademarks. GM

Products have also been the subject of extensive unsolicited publicity resulting from their high

quality, performance, and innovative design. As a result, products bearing the GM Trademarks

are widely recognized and exclusively associated by consumers, the public, and the trade as being

high-quality products sourced from GM. GM Products have become among the most popular of

their kind in the U.S. and the world. The GM Trademarks have achieved tremendous fame and

recognition which has only added to the distinctiveness of the marks. As such, the goodwill

associated with the GM Trademarks is of incalculable and inestimable value to GM.




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       11.     GM Products are sold online via the GM.com website and through authorized

dealers and licensees, including several in the Chicago area. Sales of GM Products via the GM.com

website are significant. The GM.com website features proprietary content, images, and designs

exclusive to the GM brand.

The Defendants

       12.     Defendants are individuals and business entities of unknown makeup who own

and/or operate one or more of the e-commerce stores under at least the Seller Aliases identified on

Schedule A and/or other seller aliases not yet known to Plaintiff. On information and belief,

Defendants reside and/or operate in the People’s Republic of China or other foreign jurisdictions,

or redistribute products from the same or similar sources in those locations. Defendants have the

capacity to be sued pursuant to Federal Rule of Civil Procedure 17(b).

       13.     On information and belief, Defendants, either individually or jointly, operate one

or more e-commerce stores under the Seller Aliases listed in Schedule A attached hereto. Tactics

used by Defendants to conceal their identities and the full scope of their operations make it virtually

impossible for Plaintiff to learn Defendants’ true identities and the exact interworking of their

counterfeit network.    If Defendants provide additional credible information regarding their

identities, Plaintiff will take appropriate steps to amend the Complaint.

                        IV. DEFENDANTS’ UNLAWFUL CONDUCT

       14.     The success of the GM brand has resulted in significant counterfeiting of the GM

Trademarks. Consequently, GM has a worldwide anti-counterfeiting program and regularly

investigates suspicious e-commerce stores identified in proactive Internet sweeps and reported by

consumers. In recent years, GM has identified many fully interactive, e-commerce stores offering

Counterfeit GM Products on online marketplace platforms such as Amazon, eBay, AliExpress,



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Alibaba, Walmart, Wish.com, Etsy, DHgate, and Temu, including the e-commerce stores

operating under the Seller Aliases. The Seller Aliases target consumers in this Judicial District

and throughout the United States. According to a U.S. Customs and Border Protection (CBP)

report, in 2021, CBP made over 27,000 seizures of goods with intellectual property rights (IPR)

violations totaling over $3.3 billion, an increase of $2.0 billion from 2020. Intellectual Property

Rights Seizure Statistics, Fiscal Year 2021, U.S. Customs and Border Protection (Exhibit 2). Of

the 27,000 in total IPR seizures, over 24,000 came through international mail and express courier

services (as opposed to containers), most of which originated from China and Hong Kong. Id.

       15.     Third party service providers like those used by Defendants do not adequately

subject new sellers to verification and confirmation of their identities, allowing counterfeiters to

“routinely use false or inaccurate names and addresses when registering with these e-commerce

platforms.” Exhibit 3, Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the Age of the

Internet, 40 NW. J. INT’L L. & BUS. 157, 186 (2020); see also, report on “Combating Trafficking

in Counterfeit and Pirated Goods” prepared by the U.S. Department of Homeland Security’s Office

of Strategy, Policy, and Plans (Jan. 24, 2020) attached as Exhibit 4 and finding that on “at least

some e-commerce platforms, little identifying information is necessary for a counterfeiter to begin

selling” and recommending that “[s]ignificantly enhanced vetting of third-party sellers” is

necessary. Counterfeiters hedge against the risk of being caught and having their websites taken

down from an e-commerce platform by preemptively establishing multiple virtual store-fronts.

Exhibit 4 at 22. Since platforms generally do not require a seller on a third-party marketplace to

identify the underlying business entity, counterfeiters can have many different profiles that can

appear unrelated even though they are commonly owned and operated. Exhibit 4 at 39. Further,




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“E-commerce platforms create bureaucratic or technical hurdles in helping brand owners to locate

or identify sources of counterfeits and counterfeiters.” Exhibit 3 at 186-187.

        16.    Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target United States consumers using one or more Seller Aliases, offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and/or funds from

U.S. bank accounts and, on information and belief, have sold Counterfeit GM Products to residents

of Illinois.

        17.    Defendants concurrently employ and benefit from substantially similar advertising

and marketing strategies. For example, Defendants facilitate sales of Counterfeit GM Products by

designing the e-commerce stores operating under the Seller Aliases so that they appear to

unknowing consumers to be authorized online retailers, outlet stores, or wholesalers. E-commerce

stores operating under the Seller Aliases appear sophisticated and accept payment in U.S. dollars

and/or funds from U.S. bank accounts via credit cards, Alipay, Amazon Pay, and/or PayPal. E-

commerce stores operating under the Seller Aliases often include content and images that make it

very difficult for consumers to distinguish such stores from an authorized retailer. On information

and belief, Plaintiff has not licensed or authorized Defendants to use any of the GM Trademarks,

and none of the Defendants are authorized retailers of genuine GM Products.

        18.    Many Defendants also deceive unknowing consumers by using one or more GM

Trademarks without authorization within the content, text, and/or meta-tags of their e-commerce

stores to attract various search engines crawling the Internet looking for websites relevant to

consumer searches for GM Products. Other e-commerce stores operating under Seller Aliases

omit using GM Trademarks in the item title to evade enforcement efforts while using strategic




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item titles and descriptions that will trigger their listings when consumers are searching for GM

Products.

       19.     E-commerce store operators like Defendants commonly engage in fraudulent

conduct when registering the Seller Aliases by providing false, misleading and/or incomplete

information to e-commerce platforms to prevent discovery of their true identities and the scope of

their e-commerce operation.

       20.     E-commerce store operators like Defendants regularly register or acquire new seller

aliases for the purpose of offering for sale and selling Counterfeit GM Products. Such seller alias

registration patterns are one of many common tactics used by e-commerce store operators like

Defendants to conceal their identities, the full scope and interworking of their counterfeiting

operation, and to avoid being shut down.

       21.     Even though Defendants operate under multiple fictitious aliases, the e-commerce

stores operating under the Seller Aliases often share unique identifiers, such as templates with

common design elements that intentionally omit any contact information or other information for

identifying Defendants or other Seller Aliases they operate or use. E-commerce stores operating

under the Seller Aliases include other notable common features such as use of the same registration

patterns, accepted payment methods, check-out methods, keywords, advertising tactics,

similarities in price and quantities, the same incorrect grammar and misspellings, and/or the use of

the same text and images. Additionally, Counterfeit GM Products for sale by the Seller Aliases

bear similar irregularities and indicia of being counterfeit to one another, suggesting that the

Counterfeit GM Products were manufactured by and come from a common source and that

Defendants are interrelated.




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         22.   E-commerce store operators like Defendants are in constant communication with

each other and regularly participate in QQ.com chat rooms and through websites such as

sellerdefense.cn and kuajingvs.com regarding tactics for operating multiple accounts, evading

detection, pending litigation, and potential new lawsuits.

         23.   Counterfeiters such as Defendants typically operate under multiple seller aliases

and payment accounts so that they can continue operation in spite of GM’s enforcement. E-

commerce store operators like Defendants maintain off-shore bank accounts and regularly move

funds from their financial accounts to off-shore accounts outside the jurisdiction of this Court to

avoid payment of any monetary judgment awarded to GM. Indeed, analysis of financial account

transaction logs from previous similar cases indicates that off-shore counterfeiters regularly move

funds from U.S.-based financial accounts to off-shore accounts outside the jurisdiction of this

Court.

         24.   Defendants are working in active concert to knowingly and willfully manufacture,

import, distribute, offer for sale, and sell Counterfeit GM Products in the same transaction,

occurrence, or series of transactions or occurrences. Defendants, without any authorization or

license from GM, have jointly and severally, knowingly and willfully used and continue to use the

GM Trademarks in connection with the advertisement, distribution, offering for sale, and sale of

the Counterfeit GM Products into the United States and Illinois over the Internet.

         25.   Defendants’ unauthorized use of the GM Trademarks in connection with the

advertising, distribution, offering for sale, and sale of Counterfeit GM Products, including the sale

of Counterfeit GM Products into the United States, including Illinois, is likely to cause and has

caused confusion, mistake, and deception by and among consumers and is irreparably harming

GM.



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                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       26.     GM hereby re-alleges and incorporates by reference the allegations set forth in the

preceding paragraphs.

       27.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered GM Trademarks

in connection with the sale, offering for sale, distribution, and/or advertising of infringing goods.

The GM Trademarks are highly distinctive marks. Consumers have come to expect the highest

quality from GM Products sold or marketed under the GM Trademarks.

       28.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

still selling, offering to sell, marketing, distributing, and advertising products using counterfeit

reproductions of the GM Trademarks without GM’s permission.

       29.     GM is the exclusive owner of the GM Trademarks. GM’s United States

Registrations for the GM Trademarks (Exhibit 1) are in full force and effect. On information and

belief, Defendants have knowledge of GM’s rights in the GM Trademarks and are willfully

infringing and intentionally using counterfeits of the GM Trademarks. Defendants’ willful,

intentional, and unauthorized use of the GM Trademarks is likely to cause and is causing

confusion, mistake, and deception as to the origin and quality of the Counterfeit GM Products

among the general public.

       30.     Defendants’ activities constitute willful trademark infringement and counterfeiting

under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       31.     GM has no adequate remedy at law and, if Defendants’ actions are not enjoined,

GM will continue to suffer irreparable harm to its reputation and the goodwill of its well-known

GM Trademarks.

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       32.     The injuries and damages sustained by GM have been directly and proximately

caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offering to sell, and

sale of Counterfeit GM Products.

                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       33.     GM hereby re-alleges and incorporates by reference the allegations set forth in the

preceding paragraphs.

       34.     Defendants’ promotion, marketing, offering for sale, and sale of Counterfeit GM

Products has created and is creating a likelihood of confusion, mistake, and deception among the

general public as to the affiliation, connection, or association with GM or the origin, sponsorship,

or approval of Defendants’ Counterfeit GM Products by GM.

       35.     By using the GM Trademarks in connection with the sale of Counterfeit GM

Products, Defendants create a false designation of origin and a misleading representation of fact

as to the origin and sponsorship of the Counterfeit GM Products.

       36.     Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the Counterfeit GM Products to the general public involves the use of

counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       37.     GM has no adequate remedy at law and, if Defendants’ actions are not enjoined,

GM will continue to suffer irreparable harm to its reputation and the goodwill of its GM

Trademarks and brand.

                                    PRAYER FOR RELIEF

WHEREFORE, GM prays for judgment against Defendants as follows:




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1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

   and all persons acting for, with, by, through, under or in active concert with them be

   temporarily, preliminarily and permanently enjoined and restrained from:

       a. using the GM Trademarks or any reproductions, counterfeit copies, or colorable

           imitations thereof in any manner in connection with the distribution, promotion,

           marketing, advertising, offering for sale, or sale of any product that is not a genuine

           GM Product or is not authorized by GM to be sold in connection with the GM

           Trademarks;

       b. passing off, inducing, or enabling others to sell or pass off any products as genuine GM

           Products or any other products produced by GM that are not GM’s, or not produced

           under the authorization, control, or supervision of GM and approved by GM for sale

           under the GM Trademarks;

       c. committing any acts calculated to cause consumers to believe that Defendants’

           Counterfeit GM Products are those sold under the authorization, control, or supervision

           of GM, or are sponsored by, approved by, or otherwise connected with GM;

       d. further infringing the GM Trademarks and damaging GM’s goodwill; and

       e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

           storing, distributing, returning, or otherwise disposing of, in any manner, products or

           inventory not manufactured by or for GM, nor authorized by GM to be sold or offered

           for sale, and which bear any of GM’s trademarks, including the GM Trademarks, or

           any reproductions, counterfeit copies, or colorable imitations thereof;

2) Entry of an Order that, upon GM’s request, those with notice of the injunction, including,

   without limitation, any online marketplace platforms such as eBay, AliExpress, Alibaba,



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   Amazon, Walmart, Wish.com, Etsy, DHgate, and Temu (collectively, the “Third Party

   Providers”) shall disable and cease displaying any advertisements used by or associated with

   Defendants in connection with the sale of counterfeit and infringing goods using the GM

   Trademarks;

3) That Defendants account for and pay to GM all profits realized by Defendants by reason of

   Defendants’ unlawful acts herein alleged, and that the amount of damages for infringement of

   the GM Trademarks be increased by a sum not exceeding three times the amount thereof as

   provided by 15 U.S.C. § 1117;

4) In the alternative, that GM be awarded statutory damages for willful trademark counterfeiting

   pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of the GM

   Trademarks;

5) That GM be awarded its reasonable attorneys’ fees and costs; and

6) Award any and all other relief that this Court deems just and proper.

Dated this 26th day of July 2023.            Respectfully submitted,


                                             /s/ Justin R. Gaudio
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